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EXHIBIT A

 

 
BNY ADC 42.2]
& NYCRR 42.21
N.Y. Comp, Cades R. & Regs. ut 8, § 32.21

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OFFICIAL COMPILATION OF CODES,
RULES AND REGULATIONS OF THE STATE
OF NEW
YORK
TETLE 8, EDUCATION DEPARTMENT
CHAPTER IL REGULATIONS OF THE
COMMISSIONER
PART 52. REGISTRATION GF CURRICULA
Text is current through July 15, 2003,

Section 52.2] Reoistration of curricula in teacher
education.

{a) Programs leading to certification in teacher
education that enroll students who will apply for
provisional certification on or before February 1,
2004, and who upon such application qualify for such
provisional certification effective on or before
February |, 2004, shall meet the requirements of this
subdivision, except that all programs leading to
certification valid for pupil personnel service or
administrative and supervisory service shall meet the
requirements of this subdivision.

(1} The general requirements for registration as set
forth under sections 52.1 and 52.2 of this Part, shall
pertain to this section, In addition, the following
requirements shall be met:

(1) Purposes. Evaluation of the college's success in
achieving its teacher education objectives will give
major emphasis to the following fields: general
education and subject specialization, behavioral and
social sciences related to teaching, and education
theory and practice. For each program there should
be clear statements of the objectives in observable
behavioral terms and the procedure that is to be
followed for the continuous evaluation of the
program. In addition, there should be procedures for
subsequent program modification as found necessary
by evaluation.

(ii) Resources. In addition to the laboratory
facilities required under section 42.2 of this Part, the
programs in teacher education shall be served by
adequate teaching aids; library resources to support
instructional programs and research: and facilities for
observation and demonstration with children in
classroom and other situations, student teaching,
professional laboratory experiences, and clinical and
field service experiences. The adequacy of the
resources shall be judged by evidence showing how

the graduates will meet the objectives of the program.

(2) Certification requirements, Evaluation for
approval of any program shall take into account the
applicable certification requirements.

(3) All registered teacher education programs
leading to certification for teaching in the early
childhood and upper elementary grades (N-6) or the
early childhood, upper elementary grades and an
academic subject in the early secondary grades (N-9)
shail include adequate preparation regarding
struction in alcohol, tobacco and drug abuse. No
person may be issued a certificate unless the
recommending institution certifies that such applicant
has satisfactorily demonstrated ithe competencies
included in the institutional program registered by the
department in such form as is determined by the
commissioner.

(4) AU registered teacher education programs
leading to certification in the classroom teaching
service, school service, or administrative and
supervisory service shall provide twe clock hours of
coursework or training in school violence prevention
and intervention. Such course work or training shall
include, but not be limited to, study in the warming
signs within a developmental and social context that
relate to violence and other troubling behaviors in
children; the statutes, regulations and policies relating
to a safe nonviolent school climate: effective
Classroom management techniques and other
academic supports that promote a nonviolent school
climate and enhance learning: the integration of
social and problem solving skill development for
students within the regular curriculum: intervention
techniques designed to address a school violence
situation; and how to participate in an effective
schocl’community referral process for students
exhibiting violent behavior.

(b) Programs leading to certification in teacher
education that enroll students who will apply for
initial certification on or after February 2, 2004 to
qualify for such initial certification effective on or
after September 1, 2004, shall meet the requirements
of this subdivision, except that all programs leading
to certification valid for pupil personnel service or
administrative and supervisory service shall meet the
requirements of subdivision {a} of this section instead
of the requirements of this subdivision.

(1) Definitions. As used in this subdivision:

(1) Annotation of a teaching certificate means the

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recognition that the holder of an appropriate valid
teaching certificate has additional pedagogical
knowledge, skills and experiences attained on a
voluntary basis, and subject to the Hmitations and
requirements set forth in the teacher certification
requirements of this Title.

(u} Classroom teaching certificate means a
teaching certificate other than a certificate in pupil
personnel service or administrative and supervisory
service.

(3) Cognate means a subject the knowledge of
which is directly related to understanding fully the
knowledge of a second subject, as chemistry is a
cognate of biology. The determination of what
subject will be designated a cognate for the second
subject at a given institution will be made by the
faculty for that second subject at the institution.

Gv} Concentration means majar, as defined in this
paragraph,

(v) English language learners means pupils with
limited English proficiency, as defined in Part 134 of
tins Title.

{vi} Extension of a teaching certificate means the
required authorization for the holder of an
appropriate valid teaching certificate to teach an
additional student population, grade or subject not
otherwise authorized by the certificate held, and
subject to the limitations and requirements set forth
in the teacher certification requirements of this Tile,

(vi) Field experience means direct observation of
teaching, participation in teaching, or teaching itself
that is related to the teacher education program in
which the candidate is enrolled: engaged in prior to
student teaching or practica; and carefully selected
and pianned by program faculty.

(vii) Initial certificate means the first teaching
certificate obtained by a candidate that qualifies that
individual to teach in the public schools of New York
State, excluding the transitional certificate and
temporary license, and subject to the limitations and
requirements set forth im the teacher certification
requirements of this Title.

(ix) Major means sequential study in a subject or
interdisciplinary field of at least 30 semester hours
that provides knowledge of breadth and depth in that
subject or mterdisciplmary field, except as otherwise
prescribed in this subdivision.

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ix} Mentored teaching experience means teaching
by a new teacher with guidance and professional
support provided to the new teacher by an
experienced certified teacher who holds a permanent
or professional certificate and has applied to and been
approved by the school or school district to provide
such mentoring ic the new teacher.

(xi) Practica means structured, college-supervised
learning experiences for a student in a teacher
education program in which the student teacher
practices the skills being learned in the teacher
education program through direct experiences with
mdividual students, or with groups of students. These
skills are practiced under the direct supervision of the
certified teacher who has official responsibility for
the studenis.

(4) Professional certificate means the final
teaching certificate obtained by a candidate that
qualifies that individual to teach in the public schools
of New York State, subject to the limitations and
requirements set forth in the teacher certification
requirements of this Title.

(xiii) Student teaching means a structured, college-
supervised learning experience for a student in a
teacher education program in which the student
teacher practices the skills being learned in the
teacher education program and gradually assumes
increased responsibility for instruction, classroom
management, and other related duties for a class of
students in the area of the certificate sought. These
skills are practiced under the direct supervision of the
certified teacher who has official responsibility for
the class.

(xiv) Subject means a branch of knowledge or
study.

(xv) Transitional A certificate means the first -
teaching certificate obtained by a candidate that
qualifies that individual to teach a specific career and
technical subject within the field of agriculture,
health, or a trade in the public schools of New York
State, subject to the requirements and limitations of
Part 80 of this Title, and excluding the provisional
certificate, initial certificate, temporary license,
transitional Bo certificate, and transitional C
certificate.

(xvi) Transitional B certificate means the first
teaching certificate obtained by a candidate enrolled
in an alternative teacher certification program, as

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prescribed in this section, that qualifies that
individual to teach in the public schools of New York
State, subject to the requirements and limitations of
Part 80 of this Title, and excluding the provisional
certificate, initial certificate, temporary Hcense,
transitional A certificate. and transitional C
certificate.

(xvi) Transitional C certificate means the first
teaching certificate obtained by a candidate holding
an appropriale academic or graduate professional
degree and enrolled in an intensive program jeading
to a professional certificate that qualifies that
individual to teach in the public schools of New York
State, subject to the requirements and limitations of
Part 80 of this Title, and excluding the provisional
certificate, initial certificate, temporary license,
transitional A certificate, and transitional 3B
certificate.

(2) General requirements. In addition to meeting
the applicable provisions of this Part, to be registered
as a program leading io certification in teacher
education, such program shall meet the general
requirements set forth in this subdivision, except to
the extent that such general requirements are
explicitly stated tc be inapplicable in this paragraph
or in the specific requirements for the certification
ttle as set forth in paragraph (3) of this subdivision,
and shall also meet the specific requirements set forth
in paragraph (3) of this subdivision,

(i) Standards for all programs, Im addition to
meeting the applicable provisions of this Part,
including but net limited 1o the applicable provisions
of section 52.2 of this Part, all programs leading to
certification im teacher education shall meet the
following requirements:

(a) Programs shall have a written statement
of the philosophy, purposes and objectives of the
program. :

(b) Institutions shall demonstrate how
faculty im the aris and sciences and faculty in
education cooperate for the purpose of ensuring that
prospective teachers receive academic preparation of
high quality, equivalent to that of students in other
fields.

{c} Institutions shall demonstrate efforts to
recruit qualified faculty and student bodies for
teacher education from groups __ historically
underrepresented in such programs.

(d} Institutions shall demonstrate efforts to
recruit and retain qualified faculty who understand
the problems of hich need schools and have
professional experience in such schools.

(¢) Imstitutions shall publish information
about each of its teacher education programs that
shall be made available to prospective and enrolled
sindents, The information shall include but need not
be limited to, as available, relevant statistics about
the labor market and job availability for each
certificate title for which a teacher education program
is offered, including the source of the statistics and
the period of time and geographic area to which the
statistics refer,

({) Institutions shall demonstrate how they
maintain formal relationships with local schools for
the purpese of improving the preparation of teachers
and improving teaching and learning at both the
institutional and the elementary and/or secondary
school levels.

(g) Institutions shall demonstrate how they
promote faculty mvolvement with public or
nonpublic schools for the purpose of improving the
preparation of teachers with regard to understanding
diversity and issues facing high need schools.

(h) Institutions shall provide sufficient
numbers of qualified, full-time faculty in order to:
foster and maintain continuity and stability in teacher
education programs and policies; ensure that the
majority of credit-bearing courses in the program are
offered by full-time faculty; and ensure the proper
discharge of all other faculty responsibilities. Faculty
teaching assignments shall not exceed 12 semester
hours per semester for undergraduate courses, or 9
semester hours per semester for graduate courses, or
21 semester hours per academic year for faculty who
teach a combination of graduate and undergraduate

_ courses, while still providing sufficient course

offermgs to allow students to complete their
programs in the minimum time required for earning
the degree. Individual faculty members shall not
supervise more than 18 student teachers per semester,
Supervision of field experiences, practica, and
student teaching shall be considered by the institution
im determining faculty load, and institutions shall
demonstrate how such supervision is considered in
determining faculty load. The commissioner may
grant a waiver from one or more requirements of this
clause upon a showing of good cause satisfactory to
the commissioner, including but not limited to a
showing that the institulion cannot meet the

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requirement because of the nature of the program,
which otherwise meets the requirements of this Part.

(i) Institutions shall demonstrate that
participation in relationships with local schools is a
valued component of the responsibilities of the
faculty with primary appointments to teacher
education.

4) Institutions shall provide sufficient
resources and equipment and adequate facilities and
physical space, as prescribed in section 52.2(a) of this
Part, to support effective teaching and scholarship by
faculty and effective learning and scholarship by
students in the program.

(k) Insitutions shali demonstrate how they
use various types of assessments to evaluate students
for admission to teacher education programs and
based on such assessments prescribe study and
experiences that will enable students to develop the
knowledge, understanding, and skills necessary to
successfully meet the requirements for certification
upon program completion.

(ii) Standards for programs leading to an initial
certificate. In addition to meeting the applicable
provisions of this Part, mcluding but not limited to
the applicable provisions of section 452.2 of this Part,
programs leading to an initial certificate shall be
programs leading to a baccalaureate or higher degree,
which shall include a requirement that the candidate
complete a general education core in the liberal arts
and sciences as prescribed in clause (a) of this
subparagraph, a content core as prescribed in clause
(b) of this subparagraph, and a pedagogical core as
prescribed in clause (c) of this subparagraph.

{a) General education core in the liberal arts
and sciences. The program shall include a
requirement that the candidate complete study that
prepares candidates with knowledge, understanding,
and skills in the liberal arts and sciences, including
but not limited to: artistic expression:
communication: information retrieval; concepts in
history and social sciences: humanities; a language
other than English; scientific and mathematical
processes: and written analysis and expression.

{b) Content core. The program shall include
a requirement that the candidate complete study in
the subject(s) to be taught which shall prepare
candidates with the knowledge base to ieach the
subject{s), in accordance with the State learning
standards for students, as prescribed in Part 100 of

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this Title, and shall prepare candidates for refining
and expanding that knowledge base.

(c) Pedagogical core. The program shail
include a requirement that the candidate complete
study in a pedagogical core that provides the
candidate with the pedagogical knowledge,
understanding, and skills as set forth in subclause (1)
of this clause and field experiences, and student
teaching and/or practica as set forth in subclause (2)
of this clause.

(1) Pedagogical knowledge, understanding,
and skills, The program shall provide study that will
permit candidates to obtain the following pedagogical
knowledge, understanding, and skills:

4) haman developmental processes and
variations, including but not limited to: the impact of
culture, heritage, socioeconomic level, personal
heaith and safety, nutrition, past or present abusive or
dangerous environment, and factors in the home,
school, and community on students! readiness ta
learn--and skill in applying that understanding to
create a safe and nurturing learning environment that
is free of alcohol, tobacco, and other drags and that
fosters the health and learning of all students, and the

evelopment of a sense of community and respect for
one another:

ii} learning = processes, = motivation,
communication, and classroom management--and
skill in applymg those understandings to stimulate
and sustain student interest, cooperation, and
achievement to each student's highest level of
learning in preparation for productive work,
citizenship in a democracy, and continuing growth;

Gin) the nature of students within the fall
range of disabilities and special health- care needs,
and the effect of those disabilities and needs on
learning and behavior-- and skill in identifying
strengths, individualizing instruction, and
collaborating with others to prepare students with
disabilities and special needs to their highest levels of
academic achievement and independence;

(iv) language acquisition and literacy
development by native English speakers and students
who are English language learners--and skill in
developing ihe listening. speaking, reading, and
writing skills of all students, including at least six
semester hours of such study for teachers of early
childhood education, childhood education, middle
childhood education, and adolescence education:

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teachers of students with disabilities, students who
are deaf or hard-of- hearing. students who are blind or
visually impaired, and students with speech and
language disabilities: teachers of English to speakers
of other languages: and library media specialists.
This six semester hour requirement may be waived
upon a showing of good cause satisfactory to the
commissioner, including but not limited to a showing
that the program provides adequate instruction in
language acquisition and literacy development
through other means;

(v) curriculum development, instructional
planning, and multiple research-validated
instnictional strategies for teaching students within
the full range of abilities-- and skill in designing and
offering differentiated instruction that enhances the
learning of all students in the content area(s) of the
certificate:

(vi) uses of technology, including
instructional and assistive technology, in teaching
and learning--and skill in using technology and
teaching students to use technology to acquire
information, communicate, and enhance learning:

(vu) formal and informal methods of
assessing student learning and the means of analyzing
one’s own teaching practice--and skill in using
information gathered through assessment and
analysis to plan or modify instruction, and skill in
using various resources to enhance teaching;

{vin} history, philosophy, and role of
education. the rights and responsibilities of teachers
and other professional staff. students, parents,
community members, school administrators, and
others with regard to education, and the importance
of productive relationships and interactions among
the school, home, and community for enhancing
student learning--and skill in fostering effective
relationships and interactions to support student
growth and learming, including skill in resolving
conflicts:

Gx} means to update knowledge and skills in
the subject(s} taught and in pedagogy:

(x) means for identifving and reporting
suspected child abuse and maltreatment, which shall
inclide at ieast two clock hours of coursework or
training regarding the identification and reporting of
suspected child abuse or maltreatment, in accordance
with the requirements of section 3004 of the
Education Law:

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(x1) means for instracting students for the
purpose of preventing child abduction, in accordance
with Education Law section 803-a: preventing
alcohol, tobacco and other drug abuse, in accordance

806; and providing instruction in fire and arson
prevention, in accordance with Education Law

{xii} means for the prevention of and
intervention in schoo! violence, in accordance with
section 3004 of the Education Law. This study shali
be composed of at least two clock hours of course
work or training that includes, but is not limited to,
study in the warning signs within a developmental
and social context that relate to violence and other
troubling behaviors in children; the statutes,
regulations and policies relating to a safe nonviolent
school climate; effective classroom management
techniques and other academic supports that promote
a nonviolent school climate and enhance learning: the
imtegration of social and problem solving skill
development for students within the regular
curriculum; intervention techniques designed to
address a school viclence situation: and how to
participate in an effective school/community referral
process for students exhibiting violent behavior,

(2) Field experiences, student teaching and
practica.

(i) The program shall include at least 109
clock hours of ficid experiences related to
coursework prior to student teaching or practica. Fhe
program shall include at least two college-supervised
student- teaching experiences of at least 20 school
days each; or at least two college-supervised practica
with individual students or groups of students of at
least 20 school days each. This requirement shall be
met by student teaching, unless the specific
requirements for the certificate title in paragraph (3)
of this subdivision require practica.

(u) The field experiences, student teaching
aud practica shall:

(A) be consistent wih the program's
philosophy, purposes and objectives and carefully
sclected and planned by program faculty, with
learning outcomes specified and their achievement
regularly evaluated;

{B} be accompanied by coursework or

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seminars and supervised by one or more faculty who
participate actively in the program and in program
development, and who have training and skills in
supervision and the expertise to provide supervision
related to content and pedagogy. Full- time faculty
Shall participate in supervising students during their
student-teaching or practica experiences;

{C) provide candidates with experiences im a
vanety of communities and across the range of
student developmental levels of the certificate,
experiences practicing skills for interacting with
parents or caregivers, experiences in high need
schools, and experiences with cach of the following
student populations: socineconomically
disadvantaged students, students who are English
language learners, and students with disabilities: and

(D) for programs preparing candidates for
more than one certificate, ensure that candidates have
field experiences andor student-teaching or practica
experiences related to each certificate, as prescribed
in paragraph (3) of this subdivision.

(i) Upon written application by the
institution, the commissioner may grant a time-
limited approval for an alternate model for field
experiences and college- supervised student teaching
or practica, provided that the mstitution demonstrates
the success of such model or has an adequate plan for
demonstrating that the model will be successful.

(iv) Other options for candidates holding
another classroom teaching certificate to meet the
student teaching or practica requirement are set forth
in the teacher certification requirements of this Title
for the particular certificate title.

Gin) Standards for programs leading to a
professional certificate,

(a) In addition to meeting the applicable
provisions of this Part, including but not limited to
the applicable provisions of section 52.2 of this Part,
programs registered as leading to a professional
certificate shall lead lo a master’ s or higher degree
and meet one of the following requirements:

(t} the program shall meet the requirements
for an initial certificate,

{2} the program shall meet the requirements
for an extension or annotation of a certificate for
candidates helding such certificate or simultancously
meeting the requirements for. such certificate;

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(3) for professional certificates in early
childhood education, childhood education, middle
childhood education (generalist), teaching students
with disabilities in early childhood, teaching students
with disabilitics in childhood, teaching students with
disabilities in middle childhood (generalist), teaching
students who are deaf or hard of hearing, teaching
students who are blind or visually impaired, teaching
English to speakers of other languages, and
educational technology specialist, and for no other
professional certificates, the program shall lead to a
master's or higher degree that includes at least 12
semester hours in graduate study that links pedagogy
and content in each of the following areas of the State
learning standards for students: English language
arts; mathematics, science and technology; and social
studies. Such programs shall be jointly designed by
faculty of these content areas and faculty of
education to link content and pedagogy: or

(4) for professional certificates in middle
childhood education (specialist); adolescence
education: teacher of students with disabilities in
middle childhood education (specialist); teacher of
students with disabilities in adolescence education;
teacher of a special subject; or teacher of the career
field of agriculture, or business and marketing and for
no other professional certificates, the program shail
lead to a master's or higher degree that inclades at
least 12 semester hours in graduate study that links
pedagogy and content in the subject of the certificate
or a related subject. Such programs shall be jointly
designed by faculty of these content areas and faculty
of education to link content and pedagogy.

{b) Other options for fulfilling the
educational requirements for the professional
certificate are set forth in the teacher certification
requirements of this Title.

Gv} Institutional accountability,

(a) Institutions shall be accountable for the
quality of their programs leading to certification in
teacher education and the candidates who complete
such programs, and shall demonstrate that their
teacher education programs are evaluated regularly
and that such evaluations are considered for making
program improvements.

(b) Candidate performance on New York
State teacher certification examinations.

(J) The department shall conduct a

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registration review in the event that fewer than 80
percent of students, who have satisfactorily
completed the institution's program during a given
academic year and have also completed one or more
of the examinations required for a teaching
certificate, pass each such examination that they have
completed. For purposes of this clause, students who
nave satisfactorily completed the institution's
program shall mean students who have met each
educational requirement of the program, excluding
any institutional requirement that the student pass
each required examination of the New York State
teacher certification examinations for a teaching
certificate in order to complete the program. Students
satisfactorily meeting each educational requirement
may include students who earn a degree or students
who complete each educational requirement without
earning a degree. For determining this percentage, the
department shall consider the performance on each
certification examination of those students
completing an examination not more than five vears
before the end of the academic year in which the
program is completed or not later than the September
30th following the end of such academic year,
academic year defined as July Ist through June 30th,
and shall consider only the highest score of
individuals taking a test more than once.

(2) The registration review initiated by act
meeting the percentage prescribed in subclause (1) of
this clause shall require the institution to submit a
corrective action plan within four months of being
notified by the department of not meeting the
percentage. If ihe department appreves the plan, the
department shall define a timeframe for its
implementation and shall assess the effectiveness of
ihe plan within three years of initiation of the plan. If
the department does not approve the plan or
determines that the institution is not meeting the
terms of the pian, and the department determines that
the institution is not mecting the other requirements
of this Part, the institution shall be subject to denial
of re-registration in accordance with the requirements
of section 52.23 of this Part.

(3) By January 15, 2000 and annually by
January 15th thereafter, each institution with
programs registered pursuant to this section shall
provide the department with a list of all sradents who
satisfactorily complete each of its teacher education
programs in the preceding year, July Ist through June
30th.

(c) Accreditation.

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(1) For pregrams registered on or before
September |, 2001, the requirements of subclause (2)
of this clause shalt be met by December 31, 2006,
For such programs, the institution shall submit to the
acceptable professional education _ accrediting
association or the department pursuant to the Regents
accreditation process, the self-study or its equivalent
as prescribed by the department, required for the
accreditation review, by July 1, 2004, For programs
registered for the first time afier September 1, 2001,
the requirements of subclause (2) of this clause shal]
be met within seven years of the date of the
cominencement of such initial registration,

(2) Programs shall be accredited by either:

(i) an acceptable professional education
accrediting association, meaning an organization
which is determined by the department to have
equivalent standards to the standards set forth in this
Part; or

(ii) the Regents, pursuant to a Regents
accreditation process.

(3) Specific requirements. To be registered as a
program leading to certification, the program shall
meet the specific requirements of this paragraph for
the particular certificate title. The general
requirements prescribed in paragraph (2) of this
subdivision shall alse be applicable, unless such
general requirements are explicitly stated to be
inapplicable in paragraph (2) of this subdivision or by
the specific requirements set forth in this paragraph.

4) Programs leading to initial certificates valid for
teaching early childhood education (birth through
grade 2),

{a} Content core. In addition to meeting the
general requirements for the content core prescribed
im clause {2)ii(b) of this subdivision, the content
core shall be a major, concentration, or the equivalent
in one or more of the liberal arts and sciences, which,
in combination with the veneral education core and
pedagogical core, shall ensure that the candidate has
a knowledge base for teaching to the State learning
standards for students, as prescribed in Part 100 of
this Title, in the following areas of the early
childhood education curriculum: the arts: career
development and occupational studies; English
language arts; health, physical education, and family
and consumer sciences, a language other than
English; mathematics, science and technology: and
social studies.

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(b) Pedagogical core. In addition to meeting
the general requirements for the pedagogical core
prescribed in clause (2)(ii)(c) of this subdivision, the
pedagogical core shall focus on early childhood
education and include, but need nat be limited to:

(1) study in the following:

(i) processes of social, emotional, cognitive,
linguistic, physical. and aesthetic growth and
development in early childhood within socio-cultural
contexts and how to provide learning experiences and
conduct assessments reflecting understanding of
those processes;

(il) early childhood curriculum development
and the implications of environmental design for
implementing curriculum: and

(ui) teaching the literacy skills of listening,
speaking, reading, and writing to native English
speakers and students who are English language
learners, including methods of reading enrichment
and remediation; and

(2) field experiences and student teaching
experiences with children m cach of the three early
childhood groups, pre-kindergarten, kindergarten,
and grades | through 2, through the combined field
experiences and student teaching experience, and
student teaching with at least rwo of these three
groups. The time requirements for field experience,
student teaching and practica of item (2}Gi}(c {2)(i)
of this subdivision shali not be applicable for
candidates holding another classroom teaching
certificate or for candidates who are simultaneously
preparing for another classroom. teaching certificate
and completing the full field experience, student
teaching and practica requirement for that other
certificate. In such instances, the programs shall
require such candidates to complete at Jeast 50 clock
hours of field experiences and at least 20° days of
practica or student teaching with students in early
childhood, including expenences with each of the
three early childhood groups.

(i) Programs leading to initial certificates valid for
teaching childhood education (grades 1 through 6).

{a} Content core. In addition to meeting the
general requirements for the content core prescribed
m clause (2)(1i}(b} of this subdivision, the content
core shail be a major, concentration, or the equivalent
in one or more of the liberal arts and sciences, which,

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in combination with the general education core and
pedagogical core, ensures that the candidate has a
knowledge base for teaching to the State learning
standards for students in the following areas of the
childhood education curriculum: the arts; career
development and occupational studies: English
language arts; health, physical education, and family
and consumer sciences; languages other than English;
mathematics, science and technology: and social
studies, as prescribed in Part 100 of this Title,

(b) Pedagogical core. In addition to meeting
the general requirements for the pedagogical core
prescribed in clause (2)(ii)(c) of this subdivision, the
pedagogical core shall focus on childhood education
and include, but need not be limited to:

(1) stady in the following:

(i} processes of growth and development in
childhood and how to provide learning experiences
and conduct assessments reflecting understanding of
those processes;

(ii) teaching the literacy skills of listening,
speaking, reading, and writing to native English
speakers and students who are Enelish language
learners at the childhood level, including methods of
reading enrichment and remediation; and

(2) field experiences and student teaching
experiences in both childhood education settings,
grades | through 3 and grades 4 through 6. The time
requirements for field experience, student teaching
and practica of item (2)GDfc OMG) of this
subdivision shall not be applicable for candidates
holding another classroom teaching certificate or for
candidates who are simultaneously preparing for
another classroom teaching certificate and
completing the full field experience, student teaching
and practica requirement for that other certificate. In
such instances, the programs shall require such
candidates to complete at least 56 clock hours of field
experiences, practica, or student teaching with
students im childhood education, —_ including
experiences in both childhood education settings,

(ull) Programs leading to initial certificates valid
for teaching middle childhood education (grades 5
through 9).

(a) Content core. In addition to meeting the
general requirements for the content core prescribed
m clause (2416) of this subdivision, the content
core shall be study that provides a content knowledge

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8 NYCRR 42.21
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base for assisting students in grades 5 through 9 in
meeting the State learning standards for students, as
prescribed in Part 100 of this Title, through the
following options:

(1) specialist option - a major or the
equivalent in English, a language other than English,
biology, chemistry, earth science, _ physics,
mathematics, or social studies; provided that the
content core in social studies shall include study in
economics, government, and at least a total of 21
semester hours of study in the history and geography
of the United States and the world: er

(2) generalist option - a major,
concentration, or the equivalent, in one or more of the
liberal arts and sciences, which, in combination with
the general education core and pedagogical core,
shall ensure that the candidate has a knowledge base
for teaching to the State learning standards for
students in the following areas of the middle
chiidhood education curriculum: the arts; career
development and occupational studies; English
language arts; health, physical education, and family
and consumer sciences; languages other than Engtish:
mathematics, science and technology; and social
studies; as prescribed in Part 100 of this Title,

(b) Pedagogical core. in addition to meeting
the general requirements for the pedagogical core
prescribed in clause (2)Gi}(c) of this subdivision, the
pedagogical core shall focus on middle childhood
education and include, but need not be Hmited to:

(1} study in the following:

(i) processes of growth and development in
middle childhood and how to provide leaming
experiences, including interdisciplmary experiences,
and conduct assessments reflecting understanding of
those processes:

(i} teaching the literacy skills of Hstening,
speaking, reading, and writing to native English
speakers and students who are English language
leamers at the middle childhood level, including
methods of reading enrichment and remediation; and

{2) student teaching in both middle
childhood settings, grades 5 through 6 and grades 7
through 9. The time requirements fer field
experience, student teaching and practica of item
(24uveM2)G) of this subdivision shall not be
applicable for candidates holding anether classroom
teaching certificate or for candidates who ate

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simultaneously preparing for another classroom
teaching certificate and completing the full field
experience, student teaching and practica requirement
for that other certificate. In such instances, the
program shall require such candidates to complete at
least 50 clock hours of field experiences, practica, or
student teaching with middle childhood students,
including experiences in both middle childhood
settings, grades 5 through 6 and grades 7 through 9.

(iv) Programs leading 1o initial certificates valid
for teaching adolescence education (grades 7 through
12}.

{a) Content core. In addition to meeting the
general requirements for the content core prescribed
in clause (2)(ii)(b) of this subdivision, the content
core shall be a major or its equivalent in one of the
liberal arts and sciences that provides a knowledge
base for assisting students in grades 7 through 12 in
meeting the State learning standards for students, as
applicable to one of the following subjects and
prescribed in Part 100 of this Title: English, a
language other than English, biology, chemistry,
earth science, physics, mathematics, or social studies,
provided that the content core in social studies shail
include study in economics, government, and at least
a total of 21 semester hours of study in the history
and geography of the United States and the world,

(b) Pedagogical core, In addition to meeting
the general requirements for the pedagogical core
prescribed in clause (2)Gi}(c) of this subdivision, the
pedagogical core shall focus on adolescence
education and include, but need not be limited to:

(1} study in the processes of growth and
development in adolescence and how to provide
learning experiences and conduct assessments
reflecting understanding of those pracesses: and

- (2) student teaching in both adolescence
education settings, grades 7 through 9 and grades 10
through 12. The time requirements for field
experience, student teaching and practica of item
(2)01cH2)G) of this subdivision shall not be
applicable for candidates holding another classroom
teaching certificate or candidates who are
simultaneously preparing for another classroom
teaching certificate and completing the full field
experience, student teaching and practica requirement
for thal other certificate. In such instances, programs
shall require such candidates to complete at least 50
clock hours of field experiences, practica, or student
eaching with students in adolescence, including

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experiences in both adolescence education settings,
grades 7 through 9 and grades 10 through 12.

(v) Programs leading to initial certificates valid for
teaching a special subject {all grades).

(a) Content core. In addition to meeting the
general requirements for the content core prescribed
in clause (2)(i)(b) of this subdivision, the content
core shall be a major or its equivalent in the subject
area of the certificate that provides a knowledge base
for assisting students in meeting the State learning
standards for students, as applicable to one of the
following subjects and prescribed in Part 100 of this
Title: dance, family and consumer sciences, health
education, music, physical education, technology
education, theatre, or visual arts.

(b) Pedagogical core. In addition to meeting
the general requirements for the pedagogical core
prescribed in clause (2)(ii)(c) of this subdivision, the
pedagogical core shall include, but need not be
limited to:

(1) for teachers of health education, study
for instructing students in middle childhood and
adolescence about child development anc ¢ parental
section 804-b-: and for instructing students j in middle
childhood and adolescence about methods of
preventing and detecting certain cancers, pursuant to
Educahor Law section 804(3-a); and

 

  

(2) student teaching of the special subject in
both settings, pre- kindergarten through grade 6 and
grades 7 through 12. The time requirements for field
experience, student teaching and practica of item
(2)G1)(c)2 3G) of this subdivision shall not be
applicable for candidates holding another classroom
teaching certificate or candidates who are
simultaneously preparing for another classroom
teaching certificate and completing the full field
experience, student teaching and practica requirement
for that other certificaie. In such instances, the
programs shall require such candidates to complete at
least 30 clock hours of field experiences, practica, or
student teaching with students in the special subject
class, including experiences in both settings. pre-
kindergarten through grade 6 and grades 7 through
12.

(vt) Programs leading to imuitial certificates valid
for teaching students with disabilities in early
childhood, childhood. middie childhood, — or
adolescence,

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(a) Content core. In addition to meeting the
general requirements for the content core prescribed
in clause (2)(i2}(b) of this subdivision, the content
core shail include the preparation for meeting the
content core requirements for the general teaching
certificate at the same student developmental level:
early childhood, childhood, middle childhood, or
adolescence, as prescribed in this subdivision.

(b) Pedagogical core. in addition to meeting
the general requirements for the pedagogical core
prescribed in clause (2)(1i)(c) of this subdivi ision, the
pedagogical core shall include the preparation for
meeting the pedagogical core requirement for the
general teaching certificate at the same
developmental level and shall focus on developing
comprehensive knowledge, understanding, and skills
for teaching students with mild, moderate, severe,
and multiple disabilities at the student developmental
level of the certificate and include, but need not be
limited to:

(1) study in the following:

(2) hisiorical, social, and legal foundations of
special education, employment and independence for
individuals with disabilities:

(ii) characteristics of learners with
disabilities;

(ili) managing behavior of students with
disabilities and promoting development of positive
social interaction skills;

div) participating in collaborative
partnerships for the benefit of students with
disabilities, including family strengthening
partnerships:

(v} assessment, diagnosis, and evaluation of
students with disabilities;

(vi) curriculum development and research-
validated methods of instructing students with
disabilities, including methods of teaching reading
and mathernatics and methods of enrichment and
remediation in reading and mathematics:

(vi} use of assistive and instructional
technology in the teaching of and Jearning by

students with disabilities: and

(vii) planning and managing teaching and

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8 NYCRR 52.2]
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leaming environments for individuals with
disabilities, including planning for and supporting
students with disabilities in general education
settings: and

(2) field experiences and student teaching
with students with disabilities across the age/grade
range of the student developmental level of the
certificate, through combined field experiences and
student teaching, and student teaching in two settings
as appropriate to the certificate: pre-K through
kindergarten and grades | through 2; or grades |
through 3 and grades 4 through 6: or grades 5
through 6 and grades 7 through 9: or grades 7
through 9 and grades 10 through 12. The time
requirements for field experience, student teaching
and practica of item (2)(4i)(c)(2)() of this subdivision
shall not be applicable for candidates holding another
classroom teaching certificate or candidates who are
simultaneously preparing for another classroom
teaching certificate and completing the full ficld
experience, student teaching and practica requirement
for that other certificate. In such instances, the
programs shall require such candidates to complete at
least the equivalent of 50 clock hours of field
experiences and at least 20 days of practica or student
teaching with students with disabilities, including
experiences across the age/grade range of the student
developmental level of the certificate.

(vii) Programs leading to initial certificates valid
for teaching students who are deaf or hard-of-hearing
(all grades).

(a) Content core. In addition to meeting the
general requirements for the content core prescribed
im clause (2)Gi}(b) of this subdivision, the content
core shail include two options for candidates:

{l) content core, as prescribed in this
subdivision, for the early childhood education
certificate or the childhood education certificate; or

(2) content core, as prescribed in this
subdivision, for the middle childhood education
certificate or the adolescence education certificate.

(b) Pedagogical core. In addition to meeting
the general requirements for the pedagogical core
prescribed in clause (2 ii)(c) of this subdivision, the
pedagogical core shall focus on developing
comprehensive knowledge. understanding, and skills
for teaching students with disabilities as prescribed in
subclause (vith \(1) of this paragraph; and
specialized knowledge, understanding and skills for

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teaching deaf or hard-of-hearing students that
icludes, but need not be Jimited to:

(1) study of the effects of hearing Joss on
students’ lives, communication, language
development, and learning; and study of American
Sign Language. deaf culture, the use of
amplification/assistive technologies, and a variety of
effective strategies for instructing students who are
deaf or hard-of-hearing, such as other sien
communication systems, cued speech, speech-
reading, and total communication: and

(2) field experiences, student teaching or
practica with students who are deaf or hard-of-
hearing, which includes experiences at each of the
four developmental levels: early childhood,
childhood, middie childhood, and adolescence,
provided that student teaching shall include
experiences at the early childhood or childhood level
and also ai the middle childhood or adolescence
level. The time requirements for field experience.
student teaching and practica of item (2)(4#)(c)(2 )(i)
of this subdivision shall not be applicable for
candidates holding another classroom teaching
certificate or candidates who are simultaneously
preparing for another classroom teaching certificate
and completing the full field experience, student
teaching and practica requirement for that other
certificate. In such instances, the programs shall
require such candidates to complete at least 50 clock
hours of field experiences and at least 20 days of
practica or student teaching with students who are
deaf or hard-of-hearing.

(viii) Programs leading to initial certificates valid
for teaching students who are blind or visually
impaired (all grades}.

(a) Content core. In addition to meeting the
general requirements for the content core prescribed
in clause (2)(ii}(b) of this subdivision, the conterit
core shali include two options for candidates:

(1} content core, as prescribed in this
subdivision, for the early childhood education
certificate or the childhood education certificate; or

(2) content core, as prescribed in this
subdivision, for the middle childhood education
certificate or the adolescence education certificate.

(b) Pedagogical core. In addition to meeting
the general requirements prescribed in clause
(2)Gi)(c) of this subdivision, the pedagogical core

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shall focus on developing comprehensive knowledge,
understanding, and skills for teaching students with
disabilities, as prescribed in subclause (vi)(bX1) of
this paragraph, and specialized knowledge,
understanding, and skills for teaching students who
are blind or visually impaired that includes, but need
not be lumited to:

(1) study in the following:

(i) purposes and scope of ophthalmologic,
optometric, and clmical low- vision evaluation
procedures, major codes of Braille, and treatment
options used with students with visual impairments:

(i) use of devices to assist students with
bhlndness and visual impairments, including assistive
technology;

(ui) methods for selecting the appropriate
hteracy medium or media for cach student; and

(iv) reading and teaching Braille: and

(2) field experiences, student teaching or
practica with students who are blind or visually
impaired, which includes experiences at cach of the
four developmental levels: early childhood,
childhood. middle childhood and adolescence,
provided that student teaching shall include
experiences at the early childhood er childhood level
and also at the middle childhood or adolescence
level. The time requirements for field experience,
student teaching and practica of item (2)(Gi)(ch2 )(D
ef this subdivision shall not be applicable for
candidates holding another classroom teaching
certificate or candidates who are simultaneously
preparing for another classroom teaching certificate
and completing the full field experience, student
teaching and practica requirement for thet other
certificate. In such instances, the programs shall
require such candidates to complete at least 50 clock
hours of field experiences and at least 20 days of
practica or student teaching with students who are
blind or visually impaired.

(ix) Programs leading to certificates valid for
teaching students with speech and language
disabilities (all srades).

(a) Requirements for the initial certificate,
(1) Content core, The general requirements

for the content core prescribed in clause (2)(i)(b) of
this subdivision shall not apply. The cantent core

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shall melude study to acquire knowledge,
understanding, and skills in the field of speech and
language disorders,

(2) Pedagogical core. In addition to meeting
the general requirements for the pedagogical core
prescribed in clause (2}(ii)c) of this subdivision, the
pedagogical core shail include, but need not be
limited to:

G) study to develop comprehensive
knowledge, understanding, and skills for teaching
students with disabilities, as prescribed in subclause
(vi}(b)(1) of this paragraph, and specialized study to
prepare for working with general education teachers
in terms of the impact of speech, language, and
hearmg disabilities on learning in the general
curriculum areas of the State Jearning standards for
students, which are prescribed in Part 100 of this
Title; and

(li) supervised, on-campus clinical practica
and off-campus, college- supervised clinical practica
totaling at least 150 clock hours that include
experiences with students with speech and language
disabilities in early childhood, childhood, middie
childhood, and adolescence. The off-campus practica
shall include experiences in elementary and/or
secondary schools. The time requirements for field
experience, student teaching and practica of item
(2GIKcK2 JG) of this subdivision shall not be
applicable.

(>) Requirements for the professional
certificate.

(1) The general registration requirements for
a program leading to the professional certificate set
forth m clause (2)(ili)(a) of this subdivision shall not
apply.

(2) To meet ‘the registration requirements for
a program leading to the professional certificate, the
program shall be a master's degree program in
speech-language pathology or its equivalent that
meets the educational requirements in Part 75 of this
Title required for licensure as a speech- language
pathologist.

(x} Programs leading to initial certificates valid for
teaching English to speakers of other languages (all
grades).

{a} Content core. In addition to meeting the
general requirements for the content core prescribed

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transitional certificatc, as prescribed for the
certificate titie in this paragraph, that is integrated
into an intensive and streamlined program of study,
except that the field experience, student teaching or
practica requirement shall not be applicable. The
program shall result in the award of a degree or the
award ofa certificate signifying program completion,
as defined in section 50.10) of this Title. The
program may permit a candidate to meet a portion of
the coursework requirements in the pedagogical core
through assessment methods used by the program
that shall ensure that the candidate has the
knowledge, understanding, and skills that would be
acquired in such coursework. These assessment
methods may include, but need not be limited to:
testing, portfolio reviews, and demonstration of
pedagogical knowledge and skills.

(2) The program shall require the
completion of two school years of mentored teaching
under the supervision of a faculty member of the
program. The institution shall be required to execute
a writien agreement with the employing school or
school district to establish a plan for two years of
mentoring and assistance for the candidate by a
support team comprised of a faculty member of the
program, the school principal or designee, an
experienced certified teacher, and a school
curriculum supervisor or specialist. The agreement
shall specify that daily mentoring shall be provided
by the experienced certified teacher during at least
the first 20 days of the candidate's teaching.

(c) The program shall require the candidate
to present evidence that the candidate meets the
requirements for a transitional C certificate for
admission to the program. The candidate shall
present evidence of holding such transitional C
certificate prior to the commencement of mentored
teaching, based in part on the holding of an
appropriate graduate academic or graduate
professional degree.

(xvii) Alternative teacher certification program.
(a) General requirements.

(1) The general requirements in
subparagraphs (2\(i), (ii) and (iv) of this subdivision
shall be applicable. The other requirements of
paragraph (2) of this subdivision shall not be
applicable. The program shall require candidates tc
have acquired the knowledge, understanding, and
skills identified for the general education core in the
liberal arts and sciences and the content core for the

imitial certificate in the area of the transitional B
certificate, as set forth in subparagraph (2)(ii) of this
subdivision, or to complete study to ensure the
acquisition of such knowledge, understanding, and
skills before completing the program.

(2) Programs registered on or after uly 1,
2001 shall meet all requirements of this
subparagraph. Programs registered prior to July 1,
2001 shall meet the requirements in effect at the time
of registration. For registration to continue beyond
August 31, 2062, programs shall demonstrate
compliance with all the requirements of this
subparagraph.

(3) The program may permit a candidate to
meet a portion of coursework requirements in the
introductory and/or in-service components of the
program through assessment methods used by the
program that shall ensure that the candidate has the
knowledge, understanding, and skills that would be
acquired through such coursework. Methods of
assessment may include, but need net be Hmited to,
determination of equivalency of prior study, testing,
portfolio reviews, and demonstration of knowledge,
understanding, and skills.

(4) In lieu of offering an introductory
component, the program may admit candidates who
meet all admission requirements of this subparagraph
on the condition that they receive a transitional B
certificate issued by the department based on having
completed equivalent study to that required for the
introductory component in this subparagraph, as
determined by the department, and having met any
other requirements for such certificate, as prescribed
in section 80-5,13 of this Title. The candidate shall
present satisfactory evidence of holding the
transitional B certificate prior to the commencement
of mentored teaching in the in-service component.

(b} The program shall meet the requirements
in each of the following subclauses:

(1} Admission requirements. Alternative
teacher certification programs that are registered
prior to July i, 2001 shall meet the admission
requirements in effect at the time of registration or
the admission requirements of this subclause. All
alternative teacher certification programs that are
registered on or afier July |, 2001 shall meet the
admission requirements of this subclause.

(i) As used in this subclause, major means
sequential study comprising at least 30 semesier

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hours that provides knowledge of breadth and depth
in an interdisciplinary field or a subject, provided that
such 30 semester hours may include up to 12
semester hours in cognates. The program shall
evaluate the preparation of candidates to determine
whether they have a sufficient knowledge base to
teach to the State learning standards appropriate to
the certificate sought and shall require candidates to
complete additional study, if necessary, to address
deficiencies prier to completion of the programm,

(ui} The program shall require candidates to
hold a baccalaureate or graduate degree from a
regionally accredited institution of higher education
or from an institution authorized by the Board of
Regents to confer degrees. Candidates shall have
achieved a 3.0 cumulative grade point average, or its
equivalent, in the program leading to the
baccalaureate or graduate degree, or shall have been
found by an officer designated by the registered
alternative teacher certification program to have the
necessary knowledge and skills to successfully
complete the program, which finding shall be in
writing and include the basis for that finding.

(iii) Candidates for a certificate in the
classroom teaching service shall have completed an
undergraduate or graduate major in the subject of the
certificate sought, or an undergraduate or graduate
major in a related field approved by the depariment
Tor this purpose at the time of program registration,
except that candidates for a certificate in early
childhood education, childhood education, and
middle childhood education- generalist, or special
education at those developmental levels, or in
teaching common branch subjects in the lower (Prek-
3) and upper (4-6) elementary grades (PreK-6) shall
meet the requirements of item {ivjof this subclause.

(iv) Candidates for certificates in early
childhood education, childhood education, and
middle childhood education-generalist, or special
education ai those developmental levels, or in
teaching common branch subjects in the lower (PreK-
3) and upper (4-6) elementary grades (PreK-6) shall
have completed an undergraduate or graduate major
in a liberal arts and sciences subject or
interdiscipHnary field.

(2} introductory component.

(i) The introductory component shall lead to
the transitional B certificate in a certificate title in the
classroom teaching serviec, and may also lead to a
bilingual education extension cf such transitional B

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certificate. It shall be offered by faculty employed by
the institution offering the registered program and
may include other instructors approved by the
institution offering the regisiered program, such as
school district personnel or other educational
providers.

(ii) Except as provided in item Gipof this
subclause, the introductory component shall include
pedagogical core study of at Jeast 200 clock hours,
including field experience appropriate to the
certificate title sought of at least 40 clock hours under
the supervision of a certified teacher.

Gi) A program leading to a transitional B
certificate authorizing the teaching of English to
speakers of other languages, students with
disabilities, stadents who are deaf or hard-of-hearing,
students who are blind or visually impaired, or
students with speech and language disabilities, which
may also lead to a bilingual education extension of
one of those certificates, shall meet the clock hour
and field experience requirements as prescribed in
item {ijof this subclause or the following
requirements: pedagogical core study of at least 100
clock hours, including field experience appropriate to
the certificate tile sought of at least 40 clock hours
under the supervision of a certified teacher, provided
that the program only places such students in grades
7 through 12, if authorized by the certificate, arranges
for at least a 25 percent reduced teaching load during
the first semester of teaching, and requires the
candidate to complete all of the remaining
pedagogical study of the introductory component
prescribed in ttem (ujef this subclause by the end of
the first semester of teaching in the in-service
component of the program,

(iv) The introductory component shall
include, but shall not be limited to, undergraduate or
graduate study designed to permit the candidate to
obtain the following pedagogical knowledge,
understanding, and skills:

{A) introduction to the community in which
the school or school district is located and the
learning needs of students in that community,
including field experiences within the community
that provide interactions with commumity leaders and
residents:

(B) historical, social, and legal foundations
af education, including special education, the
education of students with limited English
proficiency, and multicultural education;

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8 NY ADC 52
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8 NYCRR
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(C) rights and responsibilities of teachers
and other professional staff. students, parents,
community members, school administrators, and
others with regard to education:

(D) child or adclescent development, as
appropriate to the certificate sought, including the
processes of first and second language acquisition
and the characteristics of learners with disabilities:

{E} instructional planning and effective
teaching strategies, including the use of technology,
for assisting alj students, including native English
speakers, English language learners, and students
with disabilities, to achieve the State learning
standards in English language arts and the subjeci(s)
appropriate to the certificate;

(F) school organization and classroom
management, including methods of managing
behavior of students with disabilities and promoting
development of positive social interaction skills in all
students;

(G} means for identifying and reporting
suspected child abuse and maltreatment, which shail
include at least two clock hours of coursework ar
training regarding the identification and reporting of
suspected child abuse or maltreatment, in accordance
with the requirements of section 3004 of the
Educatig 3

 

 

CH) means of instructing students for the
purpose of preventing child abduction, in accordance
with Education Law section 803-a: preventing
alcohol, tobacco and other drug abuse, in accordance
with Education Law secuon 804: providing safety

  
 

 

prevention, in accordance with Education Law

 

section 808: and

{) means for the prevention of and
intervention in schoo! violence, in accordance with
section 3004 of the Education Law. This study shall
be composed of at least two clock hours of
coursework or training thai includes, but is not
limited to, study in the warning signs withm a
developmental and social context that relaie to
violence and other troubling behaviors in children:
the statutes, regulations and policies relating to a safe
nonviolent school climate; effective classroom
management techniques and other academic supporls
that promote a nonviolent schoo! chmate and enhance

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learning; the integration of social and problem
selving skill development for students within the
regular curriculum, intervention techniques designed
to address a school violence situation; and how to
participate in an effective school/community referral
process for students exhibiting violent behavior.

(3) In-service component, For programs of
undergraduate study, completion of the introductory
component or its equivalent and the in-service
component shall prepare the candidate with the
education required for the provisional or initial
certificate in a certificate title in the classroom
leaching service and may prepare the candidate with
the education required for a bilingual education
extension of such certificate. For programs leading to
a master's or higher degree, completion of the
introductory component or its equivalent and the in-
service component shall prepare the candidate with
the education required for the provisional/permanent
certificates or the initial/professional certificates in a
certificate title in the classroom teaching service and
may prepare the candidate with the education
required for a bilingual education extension of such
certificates. The in-service component of the program
shall meet the following requirements:

(1) Candidates must meet program standards
for good academic progress for all credit-bearing
coursework im order to retain the transitional B
certificate,

(ii) Mentored teaching. The program shall
require program candidates who are teaching with a
transitional B certificate to receive mentoring and
supervision during the entire period that they are both
teaching and enrolled in the program, including at
least one school year, as follows:

(A) The mentored teaching shall take place
in a school or school district that offers instruction in
any grade, pre-kindergarten through 12, -as
appropriate to the certificate sought.

(B) Prior to the candidate's employment as a
teacher, the imstitution shall execute a written
agreement with the employing school or school
district by which the schoo] or school district agrees
fo consult with program faculty and the candidate
before determining the teaching load of the
candidate, agrees to provide daily mentoring of the
candidate by certified school personnel during the
firsi cight weeks of teaching; and agrees to execute,

' before the end of the first eight weeks of teaching, a

second written agreement for continued mentoring by

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8 NY ADC 52,21
8 NYCRR 52,2!
N.Y. Comp. Codes R. & Regs. tit. 8, 52.21

certified school personnel during the remainder of the
time that the candidate is cnrolled in the program and
teaching.

(C) The first written agreement shall
indicate that all mentoring will be provided by
certified school personnel who have received
preparation for their role as mentors prior to serving
as mentors, and shall include scheduled times during
the candidate's first eight weeks of teaching for the
candidate and mentor io engage in planning,
observation, advisement, and evaluation.

{D) The second written agreement shall
include a schedule for continued mentoring during
the remainder of the time that the candidate is
enrclied in the program and teaching and shall be
designed to meet the individual learning needs of the
candidate. The agreement shall be signed by the
principal or designee, program faculty, the mentor,
and the candidate before the end of the first eight
weeks of teaching. It shall specify times, periodically
throughout each school year, for the candidate and
mentor to engaze in planning, observation,
advisement, and evaluation; and shall also specify
dates for meetings of program faculty, the schcol
principal or designee, the mentor, and the candidate
at least once every three months during the first year
of mentored teaching and periodically thereafter, to
provide the candidate with advice for improving
teaching practices.

(E) The second written agreement for
continued mentoring and supervision may be
modified to reflect changing learning needs of the
candidate by agreement of and with the signatures of
the primcipal cr designee, program faculty, the
mentor, and the candidate.

{F) Program faculty shall supervise the
teaching of the candidate and promote the linking of
theory and practice by observing and advising the
candidate at least once each month during the first
year of mentored teaching and periodically
throughout the remainder of the time that the
candidate is enrolled in the program and teaching,

Qiu} Coursework requirement. During the in-
service component, the candidate shall satisfactorily
complete credit-bearing courses and seminars that are
designed to Hnk educational theory with classroom
experience. The introductory component or its
equivalent and the ine service component of the
program in combination shall include the pedagogical
core study as set forth in this subdivision for the

initial certificate in the area of the candidate's
transitional B certificate and, as applicable, for the
bilingual education extension of such certificate,
except that the field experience. student teaching. or
practica requirement shall not be applicable,

(4) A designated officer of the institution
offering the registered program shall be required to
recommend the candidate for the initial or provisional
certificate or the initlal/professional or
provisional/permanent certificates, and as applicable,
for the bilingual education extension of those
certificates, after consultation with the school
principal or designee at the location of the mentored
teaching.

(5) Successful completion of the program
shall result in the award of a degree or the award of a
certificate signifving program completion, as defined
in section 30.1()) of this Title.

(c) Notwithstanding the requirements of
section 52.1(h) of this Title, a program registered as
leading to the provisional or initial certificate that has
made special arrangements for the candidate to meet
ail the pre- service and in-service requirements of an
alternative teacher certification program leading to
the transitional B and the provisional or initial
certificate, as prescribed in this subparagraph, shal!
not be required to obtain registration for the
modification of such program, provided that such
modification is only permitted for students who will
apply io the department for the transitional B
certificate on or before February 1, 2001,

(4) Programs leading to extensions and annotations.
To be registered as a program leading to an extension
or annotation of a teaching certificate, the program
shall meet the requirements of this paragraph. The
requirements for the extension or annotation are
additional to the requirements set ferth in this
subdivision for the teaching certificate but may be
completed as part of the program leading to the
certificate,

(1) Programs leading to extensions authorizing the
provision of bilingual education for certificates for
teaching early childhocd education; childhood
education; middle childhood education; adolescence
education; a special subject; literacy education:
career and technical education; students with
disabilities in early childhood, or childhood, or
muddle childhood, or adolescence: students who are
blind or visually impaired; students who are deaf or
hard of hearing: and students with speech and

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8 NY ADC $2.21
8 NYCRR 42.2]

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language disabilities shall require:

(a) study that will permit the candidate to
obtain the following knowledge, understanding and
skills:

(1) theories of bilingual education and
bilingualism;

(2) multicultural perspectives in education:
(3) sociolinguistics and psycholinguistics;

{4) methods of teaching English language
arts to bilingual English language learners, including
lnteracy, using the native language and English, for
meeting the State learning standards for students, set
forth in Part 100 of this Title:

(5) methods of teaching native language arts
to bilingual English language learners, including
literacy, using the native language and English: and

(6) methods cf teaching other content
appropriate to the teaching certificate to bilingual
English language learners, using the native language
and English, for meeting the State learning standards
for students, set forth in Part 100 of this Title; and

(b} college-supervised field experiences of
at least 30 clock hours in providing bilingual
education, as appropriate to the teaching certificate.

(ti) Programs leading to extensions authorizing the
provision of bilingual education for certificates in
library media specialist and educational technology
specialist shall require:

{a) study that will permit the candidate to
abtain the following knowledge, understanding and

skills:

(1} theories of bilingual education and
bilingualism;

(2) multicultural perspectives in education;

(3) methods of providing library media
services or educational technology services, as
appropriate to the teaching certificate to bilingual
English language learners, using the native language
and English; and

(b} college-supervised ficid experiences of
at least 50 clock hours in providing bilingual

Page 2]

services, ag appropriate to the teaching certificate.

(iii) Programs leading to extensions io authorize
the teaching of a subject in grades 5 and 6 for
certificates in teaching biology, chemistry, earth
science, English, mathematics, physics, or social
studies (grades 7 through 12) shall require study of at
least 6 semester hours in middle childhood education.
Such study shall include early adolescent
development and the application of diverse
instructional strategies in middle childhood
education, including imterdisciplinary teaching and
teaming of students and faculty to maximize student
learning.

(iv) Programs leading to extensions to authorize
the teaching of a subject in grades 7 through 9 for
certificates in childhood education (grades 1 through
5) shall require study of at least 30 semester hours in
the subject to be taught and at least 6 semester hours
in middle childhood education. Such study in middie
chilékeod education shall include early adolescent
development and the application of diverse
instructional strategies in middle childhood
education, including interdisciplinary teaching and
teaming cf students and faculty to maximize student
learning.

(v) Programs leading io extensions for gifted
education for classroom teaching certificates shall
require:

(a) study that will permit the candidate to
obtain the following knowledge, understanding and
skills:

(1) knowledge of the characteristics of
stadents who learn at a pace and level that is
significantly different from that of their classmates,
mcluding but not limited to gifted students and other
high ability learners;

(2} knowledge of tools and methods for
identifying and assessing students whe learn at a pace
and level that is significantly different from that of
their classmates. and skill in using the tools and
methods;

(3} knowledge and skills for planning,
providing, coordinating, and evaluating differentiated
teaching and learning environments to challenge and
assist all students in learning to their highest levels of
achievement: and

(4) skill in collaborating with other school

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&NY ADC $2.2]
& NYCRR 52.21
N.Y, Comp. Codes R. & Rees. ti. 8,8 52.21

staff to provide individualized instruction for all
students; and

(>) coliege-supervised field experiences of
at least 50 clock hours teaching students who learn at
a pace and level that is significantly different from
that of their classmates, including but not limited to
gifted students and other high ability learners.

(vi) Programs leading io extensions for classroom
teaching certificates to authorize coordination of
work-based learning programs for career exploration
or to authorize coordination of discipline-specific and
diversified work-based learning programs for career
development shall require study of at least six
semester hours in developing, implementing,
coordinating, and evaluating work-based learning
experiences and programs.

(vil) Programs leading to annotations to recognize
additional pedagogical knowledge, skills, and
experiences for teaching students with severe or
multipie disabilities for certificates for teaching
students with disabilities in early childhood, or
childhood, or middie childhood, or adolescence:
students who are blind or visually impaired: students
who are deaf or hard of hearing: and students with
speech and langnage disabilities shall require:

{a} a sequential course of study that includes
but is not limited to the following:

(1) characteristics of learners with severe or
multipie disabilities:

(2) development of collaborative
partnerships for the benefit of students with severe or
multiple disabilities:

(3} assessment, diagnosis, and evaluation of
students with severe or multiple disabilities;

(4) curriculum development and varied
methods of instructing students with severe or
multiple disabilities;

{5} assistive and instructional technology in
the teaching and leaming of students with severe or
multiple disabilities; and

(6) planning and managing fearing
environments for individuals with severe ar multiple
disabilities, including post-school expectations,
opportunities, and planning; and

(>) college-supervised field experiences of
at least 50 clock hours teaching students with severe
or multiple disabilities.

Historical Nate

Sec. repealed, new filed Aug. 6, 1969: amds. filed:
Feb, 29, 1972; April 4, 1978: Sept. 21, 1999 as
emergency measure; Dec. 20, 1999 as emergency
measure; Dec. 26, 1999; Fuly 18, 2000; July 18, 2000
as emergency measure, Oct. 6, 2000 as emergency
measure; Nov. 14, 2000; Nov. 14, 2000 as emergency
measure; Feb, 9, 2001 as emergency measure: Feb. 9,
2001; June 21, 2001 as emergency measure: Oct. 9,
2001 as emergency measure; Oct. 9, 2001; June 21,
2002; May 2, 2003 eff. May 22, 2003. Amended
(e)\2)Gv)le 1).

<General Materials (GM) - References, Annotations,
or Tables>

§ NY ADC 52.21
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EXHIBIT B
& NY ADC 80-5.13
S&S NYCRR 80-5.13
N.Y. Comp. Codes R. & Regs. tit. 8, § 80-5.13

OFFICIAL COMPILATION OF CODES,
RULES AND REGULATIONS OF THE STATE
OF NEW
YORK
TITLE 8. EDUCATION DEPARTMENT
CHAPTER H. REGULATIONS OF THE
COMMISSIONER
SUBCHAPTER C. TEACHERS
PART 80. REQUIREMENTS FOR TEACHERS’
CERTIFICATES AND TEACHING PRACTICE
SUBPART 80-5. REQUIREMENTS RELATING
TO TEACHING PRACTICE AND
SPECIALIZED
CREDENTIALS
Text is current through July 15, 2003,

Section 80-5.13 Alternative teacher certification
requirements,

(a) Requirements for the transitional B certificate
for all titles in the classroom teaching service,
applicable for a candidate enrolled in an alternative
teacher certification program registered pursuant to
section 52.21(b)(3)(xvii) of this Title.

(1) General requirements.

(i) Time validity. The transitional B certificate
shall be valid for three years from its effective date,
except that upon application by a candidate, a
transitional B certificate in a title in the classroom
teaching service which has a bilingual education
extension may be reissued for one additional year,
provided that the candidate qualifies for a provisional
or initial certificate in such tifle in the classroom
teaching service.

(ii) Limitations, The transitional B certificate shall
authorize a candidate to teach only in a school district
for which a commitment for employment and
mentoring has been made. In addition, it shall only be
valid as long as the candidate is matriculated in good
standing in a registered alternative teacher
certification program leading to a provisional or
initial certificate, unless the candidate has applied for
the transitional B certificate on or before February 1,
2001 and the candidate is matriculated in good
standing in a registered program leading to the
provisional or initial certificate in the certificate title
sought and has documented that such program will
meet all requirements of the alternative teacher
certification program, or unless the candidate has
completed such program.

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(2) The candidate shall meet the requirements in
each of the following subparagraphs:

(1) Education.

(a) The candidate shall hold a baccalaureate
or graduate degree from a regionally accredited
institution of higher education or from an institution
authorized by the Board of Regents to confer
degrees: and

(b) either:

(1) the candidate shall submit satisfactory
evidence of:

(1) matriculation in an alternative teacher
certification program leading to a provisional or
initial certificate or leading to provisional/permanent
or initial/professional certificates and, as applicable, a
bilingual education extension of such certificates,
registered pursuant to and having met the admission
requirements prescribed in section 52.21(b)(3 (xvii)
of this Title; and

(a) having completed the introductory
component of a registered program leading to the
transitional B certificate, as prescribed in section
S2.21b\Davi} of this Title or acceptable
equivalent study as determined by the department: or

(2) for candidates who apply for the
transitional B certificate on or before February 1,
2001, the candidate shall submit satisfactory evidence
of:

(i) meeting the admissions requirements for
the alternative teacher certification program, as
prescribed in section 52.21(b)(3)(xvii) of this Title;

(ii) matriculation in a program registered as
leading to the provisional or initial certificate in the
title sought, pursuant te section 52.21 of this Title,
that has made special arrangements for the candidate
to meet all the pre-service and in-service
requirements of an alternative teacher certification
program leading to the transitional B and the
provisional or initial certificate, as prescribed in
section 52.21(b)(3){xvii)} of this Tite; and

(1) having completed the pre-service
component leading to the transitional B certificate, as
prescribed in section 52.21(b)3} xvii) of this Title,
pursuant to the special arrangements made for the

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candidate in a program registered as leading to the
provisional or initial certificate.

Gi} Examination. The candidate shall submit
evidence of having achieved a satisfactory level of
performance on the New York State teacher
certification examination liberal arts and sciences
test, and the content specialty test(s} in the area of the
certificate, where such content specialty test is
required for the certificate title. Successful
completion of the content specialty test in the area of
the certificate shall not be required for the transitional
B certificate authorizing the teaching of English to
speakers of other languages, students with
disabilities, students who are deaf or hard-of-hearing,
students who are blind or visually impaired, or
studenis with speech and language disabilities, or for
an extension of a transitional B certificate in bilingual
education. Instead, the candidate shall submit
evidence of having achieved a satisfactory level of
performance on a New York State teacher
certification examination content specialty test for a
teaching certificate in the classroom teaching service.

Gi} Employment and support commitment. The
candidate shall submit satisfactory evidence of
having a commitment from a school or school district
of employment as a full- time teacher with the school
or school district in the area of the certificate sought
for at least three schoo! years, which shall include at
least one year of mentoring as prescribed in section
52.21(b)}(3)(xvii) of this Title.

(b) Requirements for the provisional or initial
certificate for all titles in the classroom teaching
service, and a bilingual education extension of such
certificate, applicable for a candidate holding a
transitional B certificate and matriculated in an
alternative teacher certification program registered
pursuant to section 52.2 1{b)(3}(xvii) of this Title.

(1) The candidate shail meet the requirements in
each of the following subparagraphs:

G) Education. The candidate shall have
successfully completed either:

(a) an alternative teacher certification
program leading to a provisional or initial certificate
or leading ta provisional/permanent or
initial/professional certificates, which may also lead
to a bilingua] education extension of such certificates,
that is registered pursuant to section 32.2 1(b)3}(xvii)
of this Title; or

Page 2

(b) for candidates who applied for the
transitional B certificate on or before February 1,
2001, a program registered as leading to the
provisional or initial certificate in the title sought,
pursuant to section 52.21 of this Title, that has made
special arrangements for the candidate to meet all the
pre-service and in-service requirements of an
alternative teacher certification program leading to
the transitional B and the provisional or initial
certificate, as prescribed in section 52.2 1b)3}xvill
of this Title.

(il) Examination. The candidate shall submit
evidence of having achieved a satisfactory level of
performance on the New York State teacher
certification examination written assessment of
teaching skills test, and any other examination
required for the provisional or initial certificate, as
applicable, and/or a bilingual education extension of
such certificate, as applicable.

(iii) Experience and mentoring. The candidate shall
submit evidence of having had at least one school
year of full-time teaching that was mentored,
obtained through an alternative teacher certification
program, registered pursuant to section
52.21(bX3 (xvii) of this Title, or other program that
meets the education requirements of this subdivision.

(2) A provisional certificate shall be issued for
candidaies who apply for the provisional teachers’
certizicates valid for classroom service on or before
February 1, 2004, and who upon such application
qualify for such provisional certificate effective on or
before February 1, 2004, Candidates who apply after
February 1, 2604 shall be issued an initial certificate,
upon meeting the requirements for that certificate.

(3) A candidate who has met the requirements of
this subdivision for a provisional or initial certificate
shall be issued a provisional or initial certificate with
an effective date that is pre-dated to the effective date
of the candidate's transitional B certificate. The
duration of such provisional or initial certificate, as
prescribed in this Part, shall be determined based on
such pre-dated effective date.

Historical Note

Sec. Bled: July 18, 2000 as emergency measure: Oct,
6, 2000 as emergency measure; Nov, 14, 200; amds.
filed: June 21, 2001 as emergency measure, expired

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Case 1:04-cv-01508-CBA-RML Document 31-2 Filed 01/21/05 Page 23 of 24 PagelD #: 133
8 NY ADC 80-5.13 Page 3
8 NYCRR 80-5.13
N.Y. Comp. Codes R. & Regs. tt. 8, § 80-513

90 days after filing; Qct. 9, 2001 as emergency
measure eff. Oct. 9, 2001: Get. 9, 2001 eff. Oct. 25,
2001. Amended (a}- (b).

<General Materials (GM) - References, Annotations,
or Tables>

8 NY ADC 80-5.13
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